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Michael S. Horn

IN L ( } | | : Le Member of New Jersey and New York Bar
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May 15, 2017

ECF

Judge Madeline Cox Arleo
United States District Judge
U.S. Courthouse

50 Walnut Street

Newark, NJ-07101

Re: U.S. v. Tejesh Kodali
Docket No.: 16 — 000550-001

Dear Judge Arleo:

As you know we represent the defendant Tejesh Kodali in the above referenced matter.
Please accept this letter and the series of character letters annexed hereto in furtherance of your
consideration of a fair sentence for the Defendant. On December 1, 2016, Mr. Kodali has entered
a plea of guilty to one-count Information charging him with conspiracy to commit visa fraud
contrary to 18 U.S.C. § 1546 (a), in violation of 18 U.S.C. § 371.

In consideration of sentencing, the Court in United States v. Hunt, 459 F.3d 1180, 1182
(11 Cir. 2006), summarized the factors that a sentencing court must consider: (1) the nature and
circumstances of the offense and the history and characteristics of the defendant; (2) the need for
the sentence imposed (A) to reflect the seriousness of the offense, to promote respect for the law,
and to provide just punishment for the offense; (B) to afford adequate deterrence to criminal
conduct;(C) to protect the public from further crimes of the defendant; and (D) to provide the
defendant with needed educational or vocational training, medical care, or other correctional
treatment in the most effective manner;(3) the kinds of sentences available; (4) the kinds of
sentence and the sentencing range established [ . . .by the Sentencing Commission]; (5) any
pertinent [Sentencing Commission] policy statement . . .;(6) the need to avoid unwarranted
sentence disparities among defendants with similar records who have been found guilty of similar
conduct; and (7) the need to provide restitution to any victims of the offense. These factors should
be considered when the Court sentencing Mr. Kodali.

It is well founded that the “over-arching provision” of 18 U.S.C. § 3553(a) is, of course, to

impose a sentence sufficient, but not greater than necessary” to meet the goals of sentencing
established by Congress. Kimbrough v. United States, 128 S.Ct. 558, 570 (2007). Indeed, the

Haddonfield, NJ | Hackensack, NJ | Princeton, NJ | Philadelphia, PA | Flemington, NJ | Red Bank, NJ | New York, NY | Wilmington, DE
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court should avoid unwarranted sentence disparities among defendants with similar records who
have been found guilty of similar conduct.

It is further noted that the United States Sentencing Guidelines are "effectively advisory"
United States v. Booker, 543 U.S. 220, 244, 125 S. Ct. 738, 160 L. Ed. 2d 621 (2005). After Booker,
sentencing courts must "consider the Guidelines range" pursuant to § 3553(a)(4), but also "tailor
the sentence in light of other statutory concerns" reflected in the sentencing factors of § 3553(a).
United States v. Rita, 551 U.S. 338, 354, 127 S. Ct. 2456, 168 L. Ed. 2d 203 (2007). Indeed, since,
the decision in United States v. Booker, 543 U.S. 220 (2005), though, “District Courts cannot just
add up figures and pick a number within a narrow range,” United States v. Ranum, 353 F.Supp.2d
984, 987 (E.D. Wisc. 2005). Rather, a “district court may determine, on a case-by-case basis, the
weight to give the Guidelines, so long as that determination is made with reference to the remaining
section 3553(a) factors that the court must also consider in calculating the defendant’s sentence.”
459 F.3d at 1185.

Here, the Court should consider a number of facts in determining the sentence imposed in
this case. Mr. Kodali has no prior criminal record and no involvement in the criminal justice
system. Mr. Kodali is an immigrant himself and worked hard in this country to procure a
reputation as a well-respected businessman. In relation to his ties to the community, he has been
an active person at a temple and strives to assist his community to become a better place. Mr.
Kodali is also an important part of his family structure. Everything in the record suggests that this
inexcusable act will never be repeated by Mr. Kodali

Mr. Kodali has accepted full responsibility for the crime he committed. This is important
when determining the sentence because Mr. Kodali’s acceptance of responsibility for the crime
and his remorse is important evidence in considering the fact that it is extremely unlikely that he
will act in this way again. The Court should also note that the crime involves fraud related to the
procurement of Visas for individuals to work in the United States. The Court should consider that
this is a non-violent crime. Indeed, in furtherance of the duty to avoid unwarranted sentencing
disparities under 18 U.S.C. § 3553(a)(6), a number of district courts have reduced sentences in
immigration cases. See, e.g., United States v. Santos, 406 F.Supp.2d 320 (S.D.N.Y. 2005) (and
citing unreported cases); United States v. Medrano-Duran, 386 F .Supp.2d 943, 946-948 (N.D. Ill.
2005); United States v. Ramirez-Ramirez, 365 F.Supp.2d 728, 731-732 (E.D. Va. 2005); United
States v. Galvez-Barros, 355 F.Supp.2d at 963.

The Courts should consider the impressive number and quality of character witnesses that
have submitted letters on Mr. Kodali’s behalf. Indeed, there are highly respected members of the
community that have attested to the fact that Mr. Kodali has a good character and many of these
individuals submit that Mr. Kodali’s actions in this case are outside of his normal character and
behavior. See Koon v. United States, 518 U.S. 81, 113 (1996) (“It has been uniform and constant
in the federal judicial tradition for the sentencing judge to consider every convicted person as an
individual and every case as a unique study in the human failings that sometimes mitigate,
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sometimes magnify, the crime and the punishment to ensue.”). The character letters for Mr. Kodali
are annexed hereto and these individuals are available to speak with the Court upon request.

We respectfully request that the Court consider the above when issuing its sentence to
Tejesh Kodali. We appreciate the Court’s attention to this matter.

Respgctfully,

Abad

MICHAEL S. HORN

   

MSH
Attachment

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Case 2:16-cr-00550-MCA Document 27 Filed 05/16/17 Page 4 of 23 PagelD: 76

Satish Vemana
Executive Vice-President
Telugu Association of North America (TANA)

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fel 4 re
Est. 1977
www.tana.org

To Date: 2/10/2017

The Honorable Judge

Madeline Cox Arleo

United States District Judge

U.S. Courthouse

50 Walnut Street, Newark, NJ-07101

RE: TEJESH KODALI
Your Honor,

Please accept this letter as an outline of the good character of Tejesh
Kodali which I respectfully request the Court consider in sentencing him. By
way of background, | am President Elect for TANA (Telugu Association of North
America). TANA was founded in 1977 in New York, is one of the oldest and
biggest indo-American non-profit organization in North America,
WWW.TANA.ORG. TANA is engaged in many social activities in North
America as well across the world. Many members volunteer their time,
efforts and other resources to community service. Every year, TANA presents
backpacks and other school supplies to children in low income school districts
in various cities across North America. TANA members help conduct health
camps and take part in disaster relief activities across the world. The many
volunteers of TANA Emergency Assistance Management Team (TEAM
Square) are well known for their tireless efforts in assisting distressed North
American Telugus in times of catastrophe. Thru its Business Conferences,

TANA nurtures and encourages entrepreneurship among Telugus.
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Kodali is a good friend and a strong supporter for Tana since 1999. I’m writing
this character letter for Kodali, with strong belief and confidence that he has a
good character and he has a charitable heart. | have known him to be a good

person for the last twenty years.

He is very friendly and he has a helping nature, and he is matured, honest and
community-minded person who is always available to help the friends and
society. He is also blessed with lot of friends as a result of his good character

and a nice caring family.

Me and my friends were really shocked to hear about the news and charges at
issue in this case because it is not consistent with his good character. Although
there is no excuse for his conduct, me and my friends still strongly believe that
he is a good hearted and moral person who can serve our society in all means
with responsibility. I respectfully request that you consider my words before
the sentence has been rendered on March 13, 2017.

Please call me on 703-731-8367 if you would like any additional information
about Tejesh Kodali.

Thanks for considering my request.
Respectfully,
if 4 Ve wena .

Satish Vemana

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(A 501(c}(3) Non-Profit Organization, Fed No: XX-XXXXXXX)
902 Oak Tree Rd, Suite 100, South Plainfield, NJ 07080
Phone: (732) 809-1200 | (516) 359-8178 QF
www.saidattanj.org | info@saidattanj.org

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&

   

 

To Date: 2/09/2017

The Honorable Judge

Madeline Cox Arleo

United States District Judge

U.S. Courthouse

50 Walnut Street, Newark, NJ-07101

RE: TEJESH KODALI

Your Honor,

| submit this letter to advise the Court of the good character of Tejesh Kodali. By way of
introduction, | am the Founder/ Head priest at Saidattapeetam in Edison, New Jersey,
www.saidattanj.org.lt is with absolute confidence and great respect | submit this letter of
character for Mr. Tejesh Kodali since | have known him for several years and he is an
upstanding member of our community.

Tejesh Kodali is known to us as a very religious, matured, honorable, obedient, community-
minded person and has been the picture of a devoted and loving husband and father to his
daughter. | have never known him to be in any kind of trouble, with his family, with the
community or with the law. When | heard about this case | was very disappointed but despite
his inexcusable acts in this particular case, | can still state with confidence that Tejesh Kodali is a
person of good character.
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Tejas Kodali is always available to the temple to help those in need and offers great advice and
direction. He has contributed significant amount as well great services for the following Charity
works at our temple. For instance, he has participated in the following charitable events:

1)

2)

He has worked to held the “Every day free food” event at the temple.

He has worked with the Temple to offer food to the homeless every Sunday. From day
one, Tejesh has contributed sandwiches, snack bars boxes of fruits during weekends to
the residents of homeless shelters in and around the area.

He has worked with the Temple in a program where the Temple has donated and
encouraged devotees to contribute towards school supplies to the needy but studious
children.He has worked with the Temple in donating the school supplies to the children
is a gesture of our mission to serve the South Plainfield Community. He has worked with
the Templeto donate back to school supplies to some needy children with the help of

South Plainfield.

He has worked with the Temple to help people during the natural calamities. He has
worked to help the Temple contribute to the society, especially at junctures where
there are necessities & scarcities, because any aid raises the needy and gives them the
confidence and belief to self-sustain.

He has participated in world peace prayers.

| still strongly believe he is a good, upstanding moral person who has served society to its
benefit and will continue to serve our community. | respectfully request that you consider
these words before the sentence is being made on March 13", 2017.

Please call me on 516-528-5687 for any questions on my statement.

Thanks for considering my request.

Respectfully,

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Raghu Sankaramanchi

Founder/Head Priest
Case 2:16-cr-00550-MCA Document 27 Filed 05/16/17 Page 8 of 23 PagelD: 80

To Date: 1/12/2017

The Honorable Judge

Madeline Cox Arleo

United States District Judge

U.S. Courthouse

50 Walnut Street, Newark, NJ-07101

RE: TEJESH KODALI

Your Honour,

This is Janaki Yarlagadda a citizen of United States and I’m writing to you for
Tejesh Kodali (my husband) who is scheduled to appear in your court for
sentencing on March 13! 2017.

| know him since 1998 and then got married on January 24", 1999. We have been
leading a very successful and happy life since then and completed 18 years of
togetherness. We have a daughter Shrina Kodali (12 years old) who is our only
child and very much attached to her father.

He is a man with positive attitude, self-motivated, self-driven with a social
responsibility since his younger days with good education and business
knowledge. He Is a complete family man with good religious views, healthy habits
who always wishes to spend time with us than being anywhere else. | have never
known him of conducting himself in a negative manner or contributing to non-
positive activities. He always had high dreams of doing something for the society
and his own people.
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He has been a good husband all these years in my life. | always look to him for
moral and emotional support. He always stood like a strong pillar besides me and
my daughter who really cannot imagine a single day or night without seeing him
who wants to share each and every detail of the events that happen in her life
every day while he is driving her to school in the morning as well at home.
Separation with her father will affect both her mental and social behavior as she
is growing into a teenager and she needs his guidance and support in all means.

We completely understand the severity of the allegations that he is being charged
with and admit them being made and know they cannot be reversed now. We
believe they were done at unfortunate times. We respectfully request you to take
these words into consideration when sentencing him, and we promise you that
given a chance he will transform into a better and responsible citizen to serve the

society and family.
Please call me for any questions on 732-501-1722.

With lot of respect and faith.

Kiee

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Janaki Yarlagadda

I5 Sinclate RD

EDISON P NJ OS&LO
Case 2:16-cr-00550-MCA Document 27 Filed 05/16/17 Page 10 of 23 PagelD: 82

To 02/24/2017

The Honorable Judge

Madeline Cox Arleo

United States District Juge

U.S. Courthouse

50 Walnut St, Newark NJ 07101

RE: Tejesh Kodali

Your Honour,

The purpose of this letter is to share and at the same time proclaim the good character of
Mr. Tejesh Kodali whom | have known as a friend, guide, philosopher, and a profoundly
wise person for more than Seven years now.

| first met Mr. Kodali at a friends and family meet. His knowledge in various fields including
Business Administration, Sports, Social and Public Welfare, Charitable Initiatives,
International Culture etc has inspired me in many ways. | was very much certain that Mr.
Kodali is worldly-wise, highly-accomplished, kind-hearted, peace-loving and above all a
good friend and adviser to all. As | was meeting him in subsequent gatherings, | could
see that he was adored by many for his achievements and recognized for his contributions
to the society through multiple platforms.

As a good friend, Mr. Kodali has always helped people of all ages, served the community
through educational, social and religious set-ups and supported good causes of the
society. | believe multiple references and online sources will attest to that fact. In addition,
he is quite involved in global initiatives through recognized organizations helping and
supporting people in need.

As soon as | learnt about the events regarding his guilty plea | was taken aback. | couldn't
imagine him surrounded by the negative atmosphere. | spent some time with him to
understand the situation and learn about the course of events. It was very difficult to
accept the fact that things can go wrong in life for people who do good for others. During
our conversation, we shared so many philosophical thoughts and Mr. Kodali was feeling
so bad for the crime he has committed and was searching for ways to pay back the debt

to society.

All of our friends who still cannot believe that Mr. Kodali has so much burden on him are
united on the fact that we are always available for any help that he or his family needs. |
have utmost respect for the value he has for friends and their well-being, | share the same
feelings and willing to provide any kind of support desired in this situation.

It is with a sincere heart, | would like to add these additional traits of Mr. Kodali: Loyal,
Kind-Hearted, Very Responsible, Considerate, and Family-Oriented individual who has
Case 2:16-cr-00550-MCA Document 27 Filed 05/16/17 Page 11 of 23 PagelD: 83

the ability to see and understand things from another person's perspective. All in all, |
would have to say that Mr. Kodali is a fine, well-balanced person with an abundance of
positive qualities and has the ability to shed the negative ones behind and move forward
in life doing more contributions to our society.

| can be reached at 732 208 3990 if you would like to know more about Mr. Tejesh Kodali.

Respecttully,

aw \
Vijay Mane~
28 Diana Dr,
South Plainfield, NJ 07080
Case 2:16-cr-00550-MCA Document 27 Filed 05/16/17 Page 12 of 23 PagelD: 84

To Date: 02/23/2017

The Honorable Judge

Madeline Cox Arleo

United States District Judge

U.S. Courthouse

50 Walnut Street, Newark, NJ-07101

RE: TEJESH KODALI

Your Honour,

This is Sirisha Yarlagadda a citizen of United States and I’m writing to you for
Tejesh Kodali (my brother-in-law) who is scheduled to appear in your court for
sentencing on March 13" 2017.

| knew him since 18 years and always looked at him as a brother rather than
brother-in-law. Our families are very close and we meet every weekend for a
movie or a dinner. | always thought my sister is very lucky to have Tejesh as her
husband because he is a complete family man who is very loving and caring.

He is very dedicated to his family and always love to spend time with them. My
daughter is very much attached to him and shares all the details of her school life
with him. Tejesh loves kids and spends most of his free time taking them to fun

places.
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He is always soft spoken and with very positive attitude. He is very motivated in
his business and very willing to help anybody who are in need. | have never seen
him angry or depressed. He is a great support to our entire family. As | am the
youngest in the family | always looked up to him for advise and support in many
matters.

| completely understand the severity of the allegations that he is being charged
with and admit them being made and | believe the events happened were very
unfortunate. With all due respect | request you to take these words into
consideration when sentencing him, and | can assure you that if he is given an
opportunity he will be a better and responsible person .

Please call me for any questions on 609 772 7238.

With lot of respect and faith.

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3307 Evergreen Lane,
South Plainfield,
NJ-07080
Case 2:16-cr-00550-MCA Document 27 Filed 05/16/17 Page 14 of 23 PagelD: 86

Date: 02/06/2017.

To

The Honorable Judge,

Madeline Cox Arleo,

United States District Judge,

U.S. Courthouse,

50 Walnut Street, Newark NJ 07101.

Re: TEJESH KODALI

Your Honour,

This is Venkateswararao Kadiyala, a permanent residence of United States and ] am writing to you
for Tejesh Kodali (my co-brother/Half Brother) who is scheduled to appear in your court for
sentencing on March 13", 2017.

I knew Tejesh Kodali since 1998 and we both are together in every part of our lives. As I am the
only male child in my family I always felt Tejesh as my brother. We both shared every details of
our lives and spent time as good friends. We always stayed in same cities and did business together

for a good period of time.

He is very dedicated and has good ideas in developing business and worked very hard to improve
it. Not even a single time he had any negative ideas or used shortcuts to improve business. Even
though our paths separated I always respected him as a hard worker and a sharp business person.
He is a very caring and loving son, husband and father. In these long years we knew each other we

never had even a difference of opinion or an argument.

I was shocked to hear about the news and charges in this case, and thought it was very unfortunate
for him and it is not in consistent with his behavior. In this case his family suffered a lot. But given
a chance I have full confidence that he would be a better person in life and will never repeat this

mistake again.

Please call me for any questions on 609 647 3545.

With lot of respect and faith.

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Venkat Kadiyala
3307 Evergreen In
South Plainfield, NJ 07080
Case 2:16-cr-00550-MCA Document 27 Filed 05/16/17 Page 15 of 23 PagelD: 87

To: 02/28/2017
The Honorable Judge

Madeline Cox Arleo

United States District Juge

U.S. Courthouse

50 Walnut St, Newark NJ 07101

RE: Tejesh Kodali

Your Honour,

My name is Fernando Silva, a US citizen. | am writing this letter to share with you my
experience and relationship with Tejesh Kodali. Tejesh and | met about 10 yrs ago in one
of my first visits to Hyderabad, India. | came to know Tejesh, he is a prominent business
person and a strong contributor in the Indian community of Hyderabadad well as in the
US. We become friends and spent quality time in India/US with his family and friends.
We have continued to stay in touch during the years.

We peaked our interest as we share the same passion for the |.T. industry as well as
International politics and sports. Tejesh has accomplished a wealth of knowledge and
experience in the field of I.T. and business management sector. We quickly built a strong
rapport as | was developing my India office. As the years went by | quickly came to know
Tejesh’s commitment to charity and social programs. He showed his candid un-selfish
personality to help the needed and to work with the young professionals for new
opportunities for their careers. | could clearly see that he is highly respected by his peers,
colleagues as well as community leaders. Tejesh has massed many achievements and
has been recognized for his contributions to our society.

It is an unfortunate situation that Tejesh got himself involved with. He understands where
he made the wrong decision and is taking ownership for his actions. We all have
consequences for the decisions we make and we grow as adult from them. His family and
friends have gathered around Tejesh to support him and his family during these difficult
times.

Your Honour we ask for your leniency in your decision for Tejesh and his family. We have
all have made mistakes in life and we grow to be better individuals and strong contributors
to our society.
Case 2:16-cr-00550-MCA Document 27 Filed 05/16/17 Page 16 of 23 PagelD: 88

if there are any questions | can answer feel free to reach me at 609-573-2266

Fernando Silva
518 State Road
Princeton,NJ.08540
Case 2:16-cr-00550-MCA Document 27 Filed 05/16/17 Page 17 of 23 PagelD: 89

To Date: 02/22/2017

The Honorable Judge

Madeline Cox Arleo

United States District Judge

U.S. Courthouse

50 Walnut Street, Newark, NJ-07101

Re: Tejesh Kodali

Your Honor,

I am Balaji Veernala. I am writing to you in regards to my very good friend Tejesh
Kodali. Mr. Kodali is a very reputable and well respected person with a great
character and demeanor. It is with this personality that we hold a kinship for many

years and I would be happy to vouch for his manner.

I was shocked to hear about the news and the charges in the case filed against him
and admitting them being made and I believe the events happened were very

unfortunate.

Mr. Kodali has a pleasant personality and is a good father to his daughter and loving
husband. He was always good and encouraging others in contributing for good
deeds. One such contribution was to the dying farmers of Telangana state in 2016.
Me along with my friends including Mr. Kodali worked together as an organization
and was able to gather funds to support low spirits of our farmers. I would also let

you know that Mr. Kodali was always next to me in times of need which is very

indicative of his loyalty.

When the news of his actions was released it was a great shock to me as they are not
expected deeds from him. I find his actions conflicting with his nature. But once I

had an opportunity to converse with him I was able to understand his obliviousness
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to his actions. He is a very caring, honest and faithful person. He would never repeat
such actions and will not also encourage anyone in doing so. I would obediently ask

you to please consider my statement before rendering your judgement.

For any further questions please feel free to contact me at my cell 216-246-1469.

Yours Sincerely,

be An uf
LL
Balaji Veernala.
1018 Waterford Drive,
Edison, New Jersey 08817.
Case 2:16-cr-00550-MCA Document 27 Filed 05/16/17 Page 19 of 23 PagelD: 91

To 02/28/2017

The Honorable Judge

Madeline Cox Arleo

United States District Juge

U.S. Courthouse

50 Walnut St, Newark NJ 07101

RE: Tejesh Kodali

Your Honour,

Purpose of this letter is to outline the good character of Mr. Tejesh Kodali whom | have known as a
friend for past 2 years. | am a US Citizen and have been residing in US for the past 19 years.

| first met Mr. Kodali at a friends and family meet. | found him to be a knowledgeable and family
oriented person. As | met him in subsequent gatherings, | could see that he was respected by many

for his achievements.

As a friend, Mr. Kodali helps people of all ages, serves the community through educational, social
and religious set-ups. He is quite involved in community initiatives through recognized organizations

helping and supporting people in need.

| was completely taken back when | learnt about the events regarding his guilty plea.! couldn't
understand the circumstances which might have lead him to do what he did and It was very difficult to

accept the fact. Mr. Kodali is repenting and regretting for the mistake.

We still cannot fathom that Mr. Kodali is going through the tough times. We are always available for
any help that he or his family needs. | have utmost respect for the value he has for friends and their
well-being, | share the same feelings and willing to provide any kind of support desired in this
situation.

| would have to say that Mr. Kodali is a fine, well-balanced person and a family oriented person who
would like to move on and contribute more to the society. Please consider my words before giving the

judgement.

| can be reached at 732-339-8924 if you would like to know more about Mr. Tejesh Kodali.

Respectfully.
—y /

cat ce ae
AO OPS
Amar Bandaru

1491 Masoma Road
North Brunswick NJ 08902
Case 2:16-cr-00550-MCA Document 27 Filed 05/16/17 Page 20 of 23 PagelD: 92

To Date: 2/13/2017

The Honorable Judge

Madeline Cox Arleo

United States District Judge

U.S. Courthouse

50 Walnut Street, Newark, NJ-07101

RE: TEJESH KODALI

Your Honour,

I am pleased to write this letter on behalf of my longtime friend and mentor
Mr. Tejesh Kodali.

My name is Krishna Monavarthi and it's been a real privilege to know Mr.
Kodali for the last 18 years. I consider him a respectable entrepreneur and
great friend. Through his generosity and kindness, he supported both
monetarily and morally and motivated me to finish my graduation and
master’s degree when I was down after my father’s sudden death 15 years ago
and he always treated me like his own brother.

After spending a good amount of time with Mr. Kodali, I came to realize how
caring, hardworking, and thoughtful he is overall. 1 was shocked to hear all
the events what has happened to him. After many years of our personal
relation, I was clueless what forced him to do.

I am happy to let you know how honest, dependable, peaceful, and
conscientious Mr. Kodali is with everyone he meets and I proud to say that I
will stand for him and his family whenever they are in need. It is a great
honor for me to know him and consider it a privilege to be his friend.
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I completely understand the severity of the allegations that he is being
charged with and admit them being made and know they cannot be reversed
now. I believe they were done at unfortunate times. I respectfully request that
you consider these words before the sentence and give him a chance to
transform into a better and responsible individual to serve the society and

family.

Please call me on 732-731-9777 for any questions on my statement.
Thanks for considering my request.

Respectfully,

 

Krishna Monavarthi
46 Schley St
Newark

NJ 07112
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C. M RAMESH y ne No. 7, Talkatora Road,
MEMBER OF PARLIAMEN a4 — le
(RAJYA SABHA) ‘igh to -  044-23324333
‘Semele Tele Fax : 011-23324332
ia E-mail : crnr3333@gmail.com
Date: 1/12/2017
To

The Honorable Judge

Madeline Cox Arleo

United States District Judge

U.S. Courthouse

50 Walnut Street, Newark, NJ-07101

RE: TEJESH KODALI

Your Honour,

This letter is to provide you with some information about the character of
TEJESH KODALI and my respectful recommendations that the court take into
consideration that Mr. Tejesh Kodali is an important part of the community.

My name is C.M.RAMESH, and I’m the MEMBER OF PARLIAMENT in (RAJYA
SABHA) from Telangana, India. | have been a lifelong friend of Tejesh Kodali. Our
families were friends more than 25 years. Tejesh is like my younger brother and |
know about Tejesh and his family better than any pérson other than his
immediate family. He has done his schooling in Gurukul Residential high school
in Ghatkesar, Telangana State, India which is not only a prestigious school but
also known for raising the children with high values for human being and society.
After his post-graduation with specialization in finance ir 1994, he started his
career with me in my group of companies as Finance Manager and then
promoted to CFO. He is very dedicated, talented and honest ia discharging his
role and responsibilities,

I know him to be an Honest, hardworking, sincere, trusted and family man who is
community-minded and other-centered.

I recently learned of the events regarding his guilty plea, | truly believe that
Tejesh Kodali has already suffered extensively for nis actions. He has lost
credibility in the public eye, and I believe.he is truly repenting regarding what he
has put his family through. His is having a good family. Tejesh’s mother, father,
wife, and daughterhave also suffered because of the ciime. Tejesh’s mother and
father are depending on him. His daughter is jus. 12 years old studying in the 7®
grade and she ueeds him the most. It is my belief that prison sentence will cause
significant harm to the health of his aging parents as well tremendous hardship

for his wife and daughter. f

 

 

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Because of the significant difficulties that will be faced by his family, who
themselves were blameless in this crime, | respectfully ask the honorable judge,
to grant a sentence of probation. I believe that the loss of his credentials, his loss
of accreditation for his vocation, and the loss of respect in the community, as well
as those freedoms that he was afforded prior to his felony conviction, may have
taken a bigger effect than keeping him out of the work force. He certainly will not

repeat any illegal activity.

Please feel free to call me on +918527733333 for any questions on my above
statement.

Thank you for your consideration.

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